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From:                            majeid crawford <majeidcrawford@gmail.com>
Sent:                            Wednesday, January 31, 2018 10:04 AM
To:                              Roxas, Samantha (BOS)
Cc:                              Breed, London (BOS)
Subject:                         Feedback on Upcoming Press Release



Hi Sam,

The NCLF is in the process of issuing a press release regarding the outcomes of our rally. Since it is regarding
the wonderful work of your office, I wanted to send you a copy of it for your review and any input. We want to
make sure we got our information correct.

https://docs.google.com/document/d/lv4L7vwRvM62gsiuAjL2sAOH5wMJPRYFNzHfilj2te7mo/edit?usp=shar
mg

We are also going to attach a video with the press release. To see the video click the link below. The final video
we send to press will have captions and music, the one below is just a draft.

https://www.facebook.com/majeid .crawford/videos/10213082628273937/

Sincerely,

Majeid

P .S.

I haven't heard back from OEWD yet about setting up a meeting to discuss reactivation of the FHC. We can
work our schedule around to meet at OEWD and your office's convenience.




                                                                                          CCSF-SHIFERAW 009913
